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                         UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                               NEW ALBANY DIVISION

 In Re:                                           Case No. 17-91363

 Michael S. Jennings
                                                  Chapter 13

 Debtors.                                         Judge Andrea K. McCord

AGREED ENTRY ON MOTION FOR RELIEF FROM AUTOMATIC STAY FILED BY
U.S. BANK NATIONAL ASSOCIATION NOT IN ITS INDIVIDUAL CAPACITY BUT
     SOLELY AS TRUSTEE FOR RMTP TRUST, SERIES 2021 BKM-TT AS TO
PROPERTY LOCATED AT 5349 EAST COUNTY ROAD 300 NORTH, GREENFIELD,
                          IN 46140 (Doc. 91)

        This matter having come before the Court upon the Motion for Relief from Stay (Doc.
91) filed herein by the secured creditor, U.S. Bank National Association, not in its individual
capacity but solely as trustee for RMTP Trust, Series 2021 BKM-TT (“Movant”) and it
appearing to the Court that parties have agreed to a course of action which will permit the
continuation of the automatic stay conditioned upon certain provisions incorporated herein for
the protection of Movant:

   1. The Chapter 13 plan filed herein on behalf of the Debtor provided that said Debtor was to
      make regular monthly payments to Movant outside of the Plan on a regular monthly
      fashion regarding the property located at 5349 East County Road 300 North, Greenfield,
      IN 46140.

   2. In breach of the terms of said Plan, the debtors failed to make certain of the regular
      monthly payments to Movant; said payments are currently in default for the months of
      March 1, 2021 through July 1, 2021 in the amount of $696.29 each, the month of August
      1, 2021 in the amount of $685.07 as well as fees in the amount of $450.00 and filing
      costs of $188.00 for a total of $4,626.63 which includes a suspense balance of $177.89.

   3. In order to eliminate said post-petition delinquency, the Debtor and Movant agree to that
      the Chapter 13 Plan will be modified so that the Trustee will make all ongoing monthly
      payments beginning with the September 2021 payment in addition to post-petition
      arrearage of $4,626.63.

   4. Movant shall file a Supplemental Proof of Claim in the amount of $4,626.63 within 30
      days of the entry of the Agreed Entry.

   5. Debtor shall file a Motion to Modify Plan within 30 days of the entry of the Agreed
      Entry.
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   6. In the event that said Debtor should fail to modify the plan within 30 days of entry of this
      Agreed Entry or fail to make any two (2) future plan payments by the date in which it is
      due, then, Movant shall give ten (10) days’ notice to Debtor’s counsel and to the Debtor;
      and thereafter Movant shall file with the Court an affidavit certifying that the Debtor is in
      default under the terms of the Agreed Entry and upon submission of such affidavit, the
      Court shall schedule a hearing on the matter. In the event the instant bankruptcy
      proceeding is dismissed or discharged, this Agreed Entry shall be terminated and no
      further force or effect.

/s/ Molly Slutsky Simons
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